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          EXHIBIT D
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(12) United States Patent                                                   (10) Patent No.:     US 8,521,534 B2
       Agapi et al.                                                         (45) Date of Patent:    *Aug. 27, 2013
(54)   DYNAMICALLY EXTENDING THE SPEECH                                (56)                        References Cited
       PROMPTS OF AMULTIMODAL
       APPLICATION                                                                      U.S. PATENT DOCUMENTS
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(75) Inventors: Ciprian Agapi, Lake Worth, FL (US);                           5,577,165 A          11/1996 Takebayashi et al.
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(*) Notice:         Subject to any disclaimer, the term of this                                      (Continued)
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by 0 days.                                         FOREIGN PATENT DOCUMENTS
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                    This patent is Subject to a terminal dis           EP                 O794670              9, 1997
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(21) Appl. No.: 13/612,014
                                                                       “PCT Application No. EP2008/051358 Search Report”. Jun. 25,
(22) Filed:         Sep. 12, 2012                                      2008, 11 pages.
                                                                                              (Continued)
(65)                   Prior Publication Data
                                                                       Primary Examiner — Daniel D Abebe
       US 2013/OO18658A1             Jan. 17, 2013                     (74) Attorney, Agent, or Firm — Holland & Knight LLP:
                                                                       Mark H. Whittenberger, Esq.
            Related U.S. Application Data                              (57)                          ABSTRACT
                                                                       A prompt generation engine operates to dynamically extend
(63) Continuation of application No. 12/490,443, filed on              prompts of a multimodal application. The prompt generation
       Jun. 24, 2009, now Pat. No. 8,290,780.                          engine receives a media file having a metadata container. The
                                                                       prompt generation engine operates on a multimodal device
(51)   Int. C.                                                         that Supports a voice mode and a non-voice mode for inter
       GOL 5/00                  (2006.01)                             acting with the multimodal device. The prompt generation
(52)   U.S. C.                                                         engine retrieves from the metadata containera speech prompt
       USPC ............................ 704/270; 704/275; 715/728     related to content stored in the media file for inclusion in the
(58)   Field of Classification Search                                  multimodal application. The prompt generation engine modi
       USPC .................................. 704/270, 275; 715/728   fies the multimodal application to include the speech prompt.
       See application file for complete search history.                              18 Claims, 8 Drawing Sheets




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    Case 1:19-cv-11438-PBS Document 1-5 Filed 06/28/19 Page 7 of 26


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    Case 1:19-cv-11438-PBS Document 1-5 Filed 06/28/19 Page 9 of 26


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                                                   Application 80:
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         Case 1:19-cv-11438-PBS Document 1-5 Filed 06/28/19 Page 12 of 26


                                                     US 8,521,534 B2
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    DYNAMICALLY EXTENDING THE SPEECH                                   speech synthesis. Both SALT applications and X--V applica
        PROMPTS OF AMULTIMODAL                                         tions use underlying speech recognition and synthesis tech
              APPLICATION                                              nologies or speech engines to do the work of recognizing
                                                                       and generating human speech. As markup languages, both
                RELATED APPLICATIONS                                   X--V and SALT provide markup-based programming envi
                                                                       ronments for using speech engines in an application's user
  This application claims benefit under 35 U.S.C. S 120 of             interface. Both languages have language elements, markup
U.S. patent application Ser. No. 12/490.443 filed Jun. 24.             tags, that specify what the speech-recognition engine should
2009.                                                                  listen for and what the synthesis engine should say. Whereas
                                                                  10   X-V combines XHTML, VoiceXML, and the XML. Events
                      BACKGROUND                                       standard to create multimodal applications, SALT does not
                                                                       provide a standard visual markup language or eventing
   Embodiments of the inventive subject matter generally               model. Rather, it is a low-level set of tags for specifying Voice
relate to the field of data processing, or, more specifically,         interaction that can be embedded into other environments. In
dynamically extending the speech prompts of a multimodal          15   addition to X--V and SALT, multimodal applications may be
application.                                                           implemented in Java with a Java speech framework, in C++,
   User interaction with applications running on Small                 for example, and with other technologies and in other envi
devices through a keyboard or stylus has become increasingly           ronments as well.
limited and cumbersome as those devices have become                      Currently multimodal application may be used to drive the
increasingly smaller. In particular, Small handheld devices            execution of media content. Often the capability of a multi
like mobile phones and PDAs serve many functions and con               modal application to drive the execution of media content
tain Sufficient processing power to Support user interaction           using speech is limited because artists use many different
through multimodal access, that is, by interaction in non              names over the course of a career, have difficult names to
Voice modes as well as Voice mode. Devices which Support               pronounce, have song titles that are difficult to pronounce, or
multimodal access combine multiple user input modes or            25   any other reason that the grammar or lexicons of a speech
channels in the same interaction allowing a user to interact           engine do not include grammar rules or pronunciation rules
with the applications on the device simultaneously through             specific to the content of a media file. Furthermore, often
multiple input modes or channels. The methods of input                 multimodal applications developed without consideration to
include speech recognition, keyboard, touch screen, stylus,            specific media content are not capable of multimodal inter
mouse, handwriting, and others. Multimodal input often            30   action with a user with speech prompts specific to that media
makes using a small device easier.                                     COntent.
   Multimodal applications are often formed by sets of
markup documents served up by web servers for display on                                        SUMMARY
multimodal browsers. A multimodal browser, as the term is
used in this specification, generally means a web browser         35      Embodiments of the inventive subject matter include a
capable of receiving multimodal input and interacting with             method of dynamically extending the speech prompts of a
users with multimodal output, where modes of the multimo               multimodal application. A prompt generation engine receives
dal input and output include at least a speech mode. Multi             a media file having a metadata container. The prompt genera
modal browsers typically render web pages written in                   tion engine operates on a multimodal device that Supports a
XHTML+Voice (X+V). X--V provides a markup language                40   Voice mode and a non-voice mode for interacting with the
that enables users to interact with an multimodal application          multimodal device. The prompt generation engine retrieves
often running on a server through spoken dialog in addition to         from the metadata container a speech prompt related to con
traditional means of input such as keyboard strokes and                tent stored in the media file for inclusion in the multimodal
mouse pointer action. Visual markup tells a multimodal                 application. The prompt generation engine modifies the mul
browser what the user interface is look like and how it is to     45   timodal application to include the speech prompt.
behave when the user types, points, or clicks. Similarly, Voice
markup tells a multimodal browser what to do when the user                    BRIEF DESCRIPTION OF THE DRAWINGS
speaks to it. For visual markup, the multimodal browser uses
a graphics engine; for voice markup, the multimodal browser               The present embodiments may be better understood, and
uses a speech engine. X-V adds spoken interaction to stan         50   numerous objects, features, and advantages made apparent to
dard web content by integrating XHTML (eXtensible Hyper                those skilled in the art by referencing the accompanying
text Markup Language) and speech recognition vocabularies              drawings.
supported by VoiceXML. For visual markup, X--V includes                   FIG. 1 sets forth a network diagram illustrating an exem
the XHTML standard. For voice markup, X--V includes a                  plary system for improving speech capabilities of a multimo
subset of VoiceXML. For synchronizing the VoiceXML ele            55   dal application in a multimodal application according to
ments with corresponding visual interface elements, X-V                embodiments of the present inventive subject matter
uses events. XHTML includes voice modules that support                    FIG. 2 sets forth a block diagram of automated computing
speech synthesis, speech dialogs, command and control, and             machinery comprising an example of a computer useful as a
speech grammars. Voice handlers can be attached to XHTML               Voice server in improving speech capabilities of a multimodal
elements and respond to specific events. Voice interaction        60   application according to embodiments of the present inven
features are integrated with XHTML and can consequently be             tive subject matter.
used directly within XHTML content.                                       FIG.3 sets forth a functional block diagram of exemplary
    In addition to X--V, multimodal applications also may be           apparatus for improving speech capabilities of a multimodal
implemented with Speech Application Tags (SALT). SALT                  application in a thin client architecture according to embodi
is a markup language developed by the Salt Forum. Both X--V       65   ments of the present inventive Subject matter.
and SALT are markup languages for creating applications                   FIG. 4 sets forth a block diagram of automated computing
that use Voice input/speech recognition and Voice output/              machinery comprising an example of a computer useful as a
         Case 1:19-cv-11438-PBS Document 1-5 Filed 06/28/19 Page 13 of 26


                                                     US 8,521,534 B2
                             3                                                                         4
multimodal device in improving speech capabilities of a mul            apronunciation rule. If the speech artifact includes agrammar
timodal application according to embodiments of the present            rule, improving speech capabilities of a multimodal applica
inventive subject matter.                                              tion according to the example of FIG. 1 includes modifying,
   FIG. 5 sets forth a flow chart illustrating an exemplary            by the multimodal browser (196), the grammar of the speech
method for improving speech capabilities of a multimodal               engine (148 or 153) to include the grammar rule. If the speech
application according to embodiments of the present inven              artifact includes a pronunciation rule, improving speech
tive subject matter.                                                   capabilities of a multimodal application according to the
   FIG. 6 sets forth a flow chart illustrating an exemplary            example of FIG. 1 includes modifying, by the multimodal
method of improving speech capabilities of a multimodal                browser (196), the lexicon of the speech engine (153) to
application.                                                      10   include the pronunciation rule.
   FIG. 7 sets forth a flow chart illustrating an exemplary               A speech artifact is one or more individual speech rules for
method of improving speech capabilities of a multimodal                inclusion in either a grammar or lexicon available to a speech
application.                                                           engine used by a multimodal browser for use in executing a
   FIG. 8 sets forth a flow chart illustrating an exemplary            multimodal application. Such speech artifacts are often
method of dynamically extending the speech prompts of a           15   embodied in an XML document. The artifact may be
multimodal application.                                                extracted from the XML document and included in a larger
                                                                       grammar defining the words understood by the speech recog
          DESCRIPTION OF EMBODIMENT(S)                                 nition engine or in a lexicon defining the manner in which the
                                                                       words so recognized are pronounced.
   The description that follows includes exemplary systems,               The prompt generation engine of FIG. 1 is a module of
methods, techniques, instruction sequences and computer                automated computing machinery for dynamically extending
program products that embody techniques of the present                 the speech prompts of a multimodal application according to
inventive subject matter. However, it is understood that the           embodiments of the present inventive subject matter. The
described embodiments may be practiced without these spe               prompt generation engine of FIG. 1 operates generally to
cific details. In other instances, well-known instruction         25   carry out dynamically extending the speech prompts of a
instances, protocols, structures and techniques have not been          multimodal application by receiving, by the prompt genera
shown in detail in order not to obfuscate the description.             tion engine (850), a media file having a metadata container;
   Example methods, apparatus, and products for dynami                 retrieving, by the prompt generation engine from the meta
cally extending the speech prompts of a multimodal applica             data container, a speech prompt related to content stored in
tion are described with reference to the accompanying draw        30   the media file for inclusion in the multimodal application
ings, beginning with FIG. 1. FIG. 1 sets forth a network               (195); and modifying, by the prompt generation engine (850),
diagram illustrating an exemplary system for dynamically               the multimodal application (195) to include the speech
extending the speech prompts of a multimodal application               prompt.
according to embodiments of the present inventive subject                A multimodal device is an automated device, that is, auto
matter. Dynamically extending the speech prompts of a mul         35   mated computing machinery or a computer program running
timodal application in this example is implemented with a              on an automated device, that is capable of accepting from
multimodal browser (196) that supports a prompt generation             users more than one mode of input, keyboard, mouse, stylus,
engine (850) and a media player (322). The multimodal                  and so on, including speech input—and also displaying more
browser Supports a speech engine (148) operating on a mul              than one mode of output, graphic, speech, and so on. A mul
timodal device (152) or a speech engine (153) residing on a       40   timodal device is generally capable of accepting speech input
voice server (151). The system of FIG. 1 includes at least one         from a user, digitizing the speech, and providing digitized
speech recognition grammar (104) that specifies words and              speech to a speech engine for recognition. A multimodal
phrases to be recognized by an automatic speech recognition            device may be implemented, for example, as a voice-enabled
(ASR) engine (150) of a speech engine (148, 20 153). The               browser on a laptop, a Voice browser on a telephone handset,
multimodal device (152) supports multiple modes of user           45   an online game implemented with Java on a personal com
interaction with the multimodal application including a voice          puter, and with other combinations of hardware software as
mode and one or more non-voice modes of user interaction               may occur to those of skill in the art. Because multimodal
with the multimodal application. The voice mode is repre               applications may be implemented in markup languages
sented here with audio output of voice prompts and responses           (X--V, SALT), object-oriented languages (Java, C++), proce
(177) from the multimodal devices and audio input of speech       50   dural languages (the C programming language), and in other
for recognition (315) from a user (128). Non-voice modes are           kinds of computer languages as may occur to those of skill in
represented by input/output devices such as keyboards and              the art, this specification uses the term multimodal applica
display screens on the multimodal devices (152). The multi             tion to refer to any software application, server-oriented or
modal application is operatively coupled (195) to an ASR               client-oriented, thin client or thick client, that administers
engine (150) in a speech engine (148). The operative coupling     55   more than one mode of input and more than one mode of
may be implemented with an application programming inter               output, typically including visual and speech modes.
face (API), a voice service module, or a VOIP connection as              The system of FIG. 1 includes several example multimodal
explained more detail below.                                           devices:
   The system of FIG. 1 operates generally to carry out                  personal computer (107) which is coupled for data com
improving speech capabilities of a multimodal application by      60       munications to data communications network (100)
receiving, by the multimodal browser (196), a media file                   through wireline connection (120),
(324) having a metadata container, retrieving, by the multi              personal digital assistant (PDA) (112) which is coupled
modal browser (196), from the metadata container of the                     for data communications to data communications net
media file (324) a speech artifact related to content stored in            work (100) through wireless connection (114),
the media file (324) for inclusion in the speech engine (153)     65     mobile telephone (110) which is coupled for data commu
available to the multimodal browser (196); and determining                 nications to data communications network (100)
whether the speech artifact (508) includes a grammar rule or               through wireless connection (116), and
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   laptop computer (126) which is coupled for data commu                  across a data communications network (100) in a voice server
      nications to data communications network (100)                      (151). A multimodal device that itself contains its own speech
      through wireless connection (118).                                  engine is said to implement a thick multimodal client or
   Each of the example multimodal devices (152) in the sys                thick client, because the thick multimodal client device itself
tem of FIG. 1 includes a microphone, an audio amplifier, a           5    contains all the functionality needed to carry out speech rec
digital-to-analog converter, a multimodal browser, and a mul              ognition and speech synthesis—through API calls to speech
timodal application capable of accepting from a user (128)                recognition and speech synthesis modules in the multimodal
speech for recognition (315), digitizing the speech, and pro              device itself with no need to send requests for speech recog
viding the digitized speech to a speech engine for recognition.           nition across a network and no need to receive synthesized
The speech may be digitized according to industry standard           10   speech across a network from a remote Voice server. A mul
codecs, including but not limited to those used for Distributed           timodal device that does not contain its own speech engine is
Speech Recognition as such. Methods for COding/DECod                      said to implement a thin multimodal client or simply a thin
ing speech are referred to as codecs. The European Tele                   client, because the thin multimodal client itself contains only
communications Standards Institute (ETSI) provides sev                    a relatively thin layer of multimodal application software that
eral codecs for encoding speech for use in DSR, including, for       15   obtains speech recognition and speech synthesis services
example, the ETSI ES 201 108 DSR. Front-end Codec, the                    from a voice server located remotely across a network from
ETSIES 202050 Advanced DSRFront-end Codec, the ETSI                       the thin client. For ease of explanation, only one (107) of the
ES 202211 Extended DSR Front-end Codec, and the ETSI                      multimodal devices (152) in the system of FIG. 1 is shown
ES 202 212 Extended Advanced DSR. Front-end Codec. In                     with a speech engine (148), but readers will recognize that
Standards Such as RFC3557 entitled                                        any multimodal device may have a speech engine according
   RTP Payload Format for European Telecommunications                     to embodiments of the present inventive subject matter.
Standards Institute (ETSI) European Standard ES 201 108                      A multimodal application (195) in this example runs in a
Distributed Speech Recognition Encoding                                   multimodal browser (196). The multimodal client application
  and the Internet Draft entitled                                         (195) may be a set or sequence of X-V or SALT documents
  RTP Payload Formats for European Telecommunications                25   that execute on the multimodal browser (196). The multimo
Standards Institute (ETSI) European Standard ES 202 050,                  dal browser (196) of FIG. 1 supports the execution of a media
ES 202211, and ES 202212 Distributed Speech Recognition                   player (322) through voice modes and non-voice modes. A
Encoding, the IETF provides standard RTP payload formats                  media player is automated computing machinery for manag
for various codecs. It is useful to note, therefore, that there is        ing and administering media content in media files Such as
no limitation in the present inventive Subject matter regarding      30   audio files and video files. Examples of media players that
codecs, payload formats, or packet structures. Multimodal                 may be modified for use in accordance with the present inven
applications according to embodiments of the present inven                tive subject matter include Music MatchTM, iTunes(R, Song
tive Subject matter may implement any codec, including, for               bird TM, and others as will occur to those of skill in the art.
example:                                                                     A multimodal application (195) in this example running in
   AMR (Adaptive Multi-Rate Speech coder)                                 a multimodal browser (196) provides speech for recognition
   ARDOR (Adaptive Rate–Distortion Optimized sound                        and text for speech synthesis to a speech engine through a
      codeR),                                                             VoiceXML interpreter (149,155). A VoiceXML interpreter is
   Dolby Digital (A/52, AC3),                                             a software module of computer program instructions that
   DTS (DTS Coherent Acoustics),                                          accepts Voice dialog instructions from a multimodal applica
   MP1 (MPEG audio layer-1),                                         40   tion, typically in the form of a VoiceXML <form element.
   MP2 (MPEG audio layer-2) Layer 2 audio codec (MPEG                     The Voice dialog instructions include one or more grammars,
      1, MPEG-2 and non-ISO MPEG-2.5),                                    data input elements, event handlers, and so on, that advise the
   MP3 (MPEG audio layer-3) Layer 3 audio codec (MPEG                     VoiceXML interpreter how to administer voice input from a
      1, MPEG-2 and non-ISO MPEG-2.5),                                    user and Voice prompts and responses to be presented to a
   Perceptual Audio Coding,                                          45   user. The VoiceXML interpreter administers such dialogs by
   FS-1015 (LPC-10),                                                      processing the dialog instructions sequentially in accordance
   FS-1016 (CELP),                                                        with a VoiceXML Form Interpretation Algorithm (FIA).
   G.726 (ADPCM),                                                            A Form Interpretation Algorithm (FIA) drives the inter
   G.728 (LD-CELP),                                                       action between the user and a multimodal application. The
   G.729 (CS-ACELP),                                                 50   FIA is generally responsible for selecting and playing one or
  GSM,                                                                    more speech prompts, collecting a user input, either a
   HILN (MPEG-4 Parametric audio coding), and                             response that fills in one or more input items, or a throwing of
   others as may occur to those of skill in the art.                      Some event, and interpreting actions that pertained to the
   As mentioned, a multimodal device according to embodi                  newly filled in input items. The FIA also handles multimodal
ments of the present inventive subject matter is capable of          55   application initialization, grammar activation and deactiva
providing speech to a speech engine for recognition. A speech             tion, entering and leaving forms with matching utterances and
engine is a functional module, typically a software module,               many other tasks. The FIA also maintains an internal prompt
although it may include specialized hardware also, that does              counter that is increased with each attempt to provoke a
the work of recognizing and generating or synthesizing                    response from a user. That is, with each failed attempt to
human speech. The speech engine implements speech recog              60   prompt a matching speech response from a user an internal
nition by use of a further module referred to in this specifica           prompt counter is incremented.
tion as a ASR engine, and the speech engine carries out speech               As shown in FIG. 1, a VoiceXML interpreter (149) may be
synthesis by use of a further module referred to in this speci            installed locally in the multimodal device (107) itself, or a
fication as a text-to-speech (TTS) engine. As shown in FIG.               VoiceXML interpreter (155) may be installed remotely with
1, a speech engine (148) may be installed locally in the             65   respect to the multimodal device, across a data communica
multimodal device (107) itself, or a speech engine (153) may              tions network (100) in a voice server (151). In a thick client
be installed remotely with respect to the multimodal device,              architecture, a multimodal device (152) includes both its own
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speech engine (148) and its own VoiceXML interpreter (149).             nected for data communications with packet Switching pro
The VoiceXML interpreter (149) exposes an API to the mul                tocols. Such a data communications network may be imple
timodal application (195) for use in providing speech recog             mented with optical connections, wireline connections, or
nition and speech synthesis for the multimodal application.             with wireless connections. Such a data communications net
The multimodal application provides dialog instructions,                work may include intranets, internets, local area data com
VoiceXML <form elements, grammars, input elements,                      munications networks (LANs), and wide area data commu
event handlers, and so on, through the API to the VoiceXML              nications networks (WANs). Such a data communications
interpreter, and the VoiceXML interpreter administers the               network may implement, for example:
speech engine on behalf of the multimodal application. In the             a link layer with the EthernetTM Protocol or the Wireless
thick client architecture, VoiceXML dialogs are interpreted        10        EthernetTM Protocol,
by a VoiceXML interpreter on the multimodal device. In the                a data communications network layer with the Internet
thin client architecture, VoiceXML dialogs are interpreted by                Protocol (IP),
a VoiceXML interpreter on a voice server (151) located                    a transport layer with the Transmission Control Protocol
remotely across a data communications network (100) from                     (TCP) or the User Datagram Protocol (UDP),
the multimodal device running the multimodal application           15     an application layer with the HyperText Transfer Protocol
(195).                                                                       (HTTP), the Session Initiation Protocol (SIP), the
   The VoiceXML interpreter provides grammars, speech for                    RealTime Protocol (RTP), the Distributed Multimodal
recognition, and text prompts for speech synthesis to the                    Synchronization Protocol (DMSP), the Wireless
speech engine, and the VoiceXML interpreter returns to the                   Access Protocol (WAP), the Handheld Device Trans
multimodal application speech engine output in the form of                   fer Protocol (HDTP), the ITU protocol known as
recognized speech, semantic interpretation results, and digi                 H.323, and
tized speech for Voice prompts. In a thin client architecture,             other protocols as will occur to those of skill in the art.
the VoiceXML interpreter (155) is located remotely from the                The system of FIG. 1 includes a web server (147) con
multimodal client device in a voice server (151), the API for           nected for data communications through wireline connection
the VoiceXML interpreter is still implemented in the multi         25   (123) to network (100) and therefore to the multimodal
modal device, with the API modified to communicate voice                devices (152). The web server (147) may be any server that
dialog instructions, speech for recognition, and text and Voice         provides to client devices markup documents (892) that com
prompts to and from the VoiceXML interpreter on the voice               pose multimodal applications. The web server (147) typically
server. For ease of explanation, only one (107) of the multi            provides Such markup documents via a data communications
modal devices (152) in the system of FIG. 1 is shown with a        30   protocol, HTTP, HDTP, WAP or the like. That is, although the
VoiceXML interpreter (149), but readers will recognize that             term web is used to describe the web server generally in this
any multimodal device may have a VoiceXML interpreter                   specification, there is no limitation of data communications
according to embodiments of the present inventive subject               between multimodal devices and the web server to HTTP
matter. Each of the example multimodal devices (152) in the             alone. The markup documents also may be implemented in
system of FIG. 1 may be configured to carry out improving          35   any markup language that Supports non-speech display ele
speech capabilities of a multimodal application and dynami              ments, data entry elements, and speech elements for identi
cally extending the speech prompts of a multimodal applica              fying which speech to recognize and which words to speak,
tion according to the present inventive Subject matter. The use         grammars, form elements, and the like, including, for
of these four example multimodal devices (152) is for expla             example, X--V and SALT. A multimodal application in a
nation only, not for limitation of the inventive subject matter.   40   multimodal device then, upon receiving from the web sever
Any automated computing machinery capable of accepting                  (147) a markup document as part of a multimodal application,
speech from a user, providing the speech digitized to an ASR            may execute speech elements by use of a VoiceXML inter
engine through a VoiceXML interpreter, and receiving and                preter (149) and speech engine (148) in the multimodal
playing speech prompts and responses from the VoiceXML                  device itself or by use of a VoiceXML interpreter (155) and
interpreter may be improved to function as a multimodal            45   speech engine (153) located remotely from the multimodal
device for improving speech capabilities of a multimodal                device in a voice server (151).
application according to the present inventive subject matter.             The arrangement of the multimodal devices (152), the web
   The system of FIG. 1 also includes a voice server (151)              server (147), the voice server (151), and the data communi
which is connected to data communications network (100)                 cations network (100) making up the exemplary system illus
through wireline connection (122). The voice server (151) is       50   trated in FIG. 1 are for explanation, not for limitation. Data
a computer that runs a speech engine (153) that provides                processing systems useful for improving speech capabilities
Voice recognition services for multimodal devices by accept             ofa multimodal application according to the present inventive
ing requests for speech recognition and returning text repre            Subject matter may include additional servers, routers, other
senting recognized speech. Voice server (151) also provides             devices, and peer-to-peer architectures, not shown in FIG. 1,
speech synthesis, text to speech (TTS) conversion, for voice       55   as will occur to those of skill in the art. Data communications
prompts and Voice responses (314) to user input in multimo              networks in Such data processing systems may support many
dal applications such as, for example, X-V applications,                data communications protocols in addition to those noted
SALT applications, or Java Voice applications.                          above. Various embodiments of the present inventive subject
   The system of FIG. 1 includes a data communications                  matter may be implemented on a variety of hardware plat
network (100) that connects the multimodal devices (152)           60   forms in addition to those illustrated in FIG. 1.
and the voice server (151) for data communications. A data                  Improving speech capabilities of a multimodal application
communications network useful for improving speech capa                 and dynamically extending the speech prompts of a multimo
bilities of a multimodal application and dynamically extend             dal application according to embodiments of the present
ing the speech prompts of a multimodal application according            inventive subject matter in a thin client architecture may be
to embodiments of the present inventive subject matter is a        65   implemented with one or more Voice servers, computers, that
data communications network composed of a plurality of                  is, automated computing machinery, that provide speech rec
computers that function as data communications routers con              ognition and speech synthesis. For further explanation, there
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fore, FIG. 2 sets forth a block diagram of automated comput            engine can recognize. The grammar communicates the words
ing machinery comprising an example of a computeruseful as             currently eligible for recognition. The set of words currently
avoice server (151). The voice server (151) of FIG.2 includes          eligible for recognition and the set of words capable of rec
at least one computer processor (156) or CPU as well as                ognition may or may not be the same.
random access memory (168) (RAM) which is connected                       Grammars may be expressed in any format Supported by
through a high speed memory bus (166) and bus adapter (158)            any ASR engine, including, for example, the Java Speech
to processor (156) and to other components of the voice                Grammar Format (JSGF), the format of the W3C Speech
SeVe.
                                                                       Recognition Grammar Specification (SRGS), the Aug
   Stored in RAM (168) is a voice server application (188), a          mented Backus-Naur Format (ABNF) from the IETFs
module of computer program instructions capable of operat         10
                                                                       RFC2234, in the form of a stochastic grammar as described in
ing a voice server in a system that is configured for use in           the W3C's Stochastic Language Models (N-Gram) Specifi
improving speech capabilities of a multimodal application
and dynamically extending the speech prompts of a multimo              cation, and in other grammar formats as may occur to those of
dal application according to embodiments of the present                skill in the art. Grammars typically operate as elements of
inventive subject matter. Voice server application (188) pro      15   dialogs, such as, for example, a VoiceXML <menu> or an
vides voice recognition services for multimodal devices by             X+V <forms. A grammar's definition may be expressed in
accepting requests for speech recognition and returning                line in a dialog. Or the grammar may be implemented exter
speech recognition results, including text representing recog          nally in a separate grammar document and referenced from
nized speech, text for use as variable values in dialogs, and          with a dialog with a URI. Here is an example of a grammar
text as String representations of Scripts for semantic interpre        expressed in JSFG:
tation. Voice server application (188) also includes computer
program instructions that provide text-to-speech (TTS)
conversion for voice prompts and Voice responses to user                   <grammar scope="dialog' -<!CDATA
input in multimodal applications such as, for example, X--V                 #JSGF V1.0;
applications, SALT applications, or Java Speech applica           25         grammar command;
tions.                                                                        <commands = remind me to call phone telephone sname>
                                                                              <whens:
   Voice server application (188) may be implemented as a                    <name> = bob | martha joe pete |chris john | artoush;
web server, implemented in Java, C++, or another language,                   <when = today I this afternoon | tomorrow | next week;
that supports X-i-V, SALT, VoiceXML, or other multimodal                   </grammars
languages, by providing responses to HTTP requests from           30
X+V clients, SALT clients, Java Speech clients, or other
multimodal clients. Voice server application (188) may, for a             In this example, the elements named <commands,
further example, be implemented as a Java server that runs on          <name>, and <when are rules of the grammar. Rules are a
a Java Virtual Machine (102) and supports a Java voice frame           combination of a rulename and an expansion of a rule that
work by providing responses to HTTP requests from Java            35   advises an ASR engine or a voice interpreter which words
client applications running on multimodal devices. And Voice           presently can be recognized. In this example, expansion
server applications that Support embodiments of the present            includes conjunction and disjunction, and the vertical bars |
inventive Subject matter may be implemented in other ways as           meanor. An ASR engine or a Voice interpreter processes the
may occur to those of skill in the art, and all Such ways are          rules in sequence, first <command, then <name>, then
well within the scope of the present inventive subject matter.    40   <whend. The <command rule accepts for recognition call
   The voice server (151) in this example includes a speech            or phone or telephone plus, that is, in conjunction with,
engine (153). The speech engine is a functional module,                whatever is returned from the <name> rule and the <when
typically a software module, although it may include special           rule. The <name> rule accepts bob or martha or Joe' or
ized hardware also, that does the work of recognizing and               pete or chris' or John or artoush, and the <when rule
generating human speech. The speech engine (153) includes         45   accepts today or this afternoon or tomorrow or next
an automated speech recognition (ASR) engine for speech                week. The command grammar as a whole matches utterances
recognition and a text-to-speech (TTS) engine for generat              like these, for example:
ing speech. The speech engine also includes agrammar (104),               “phone bob next week.”
a lexicon (106), and a language-specific acoustic model                   “telephone martha this afternoon.”
(108). The language-specific acoustic model (108) is a data       50     “remind me to call chris tomorrow,” and
structure, a table or database, for example, that associates              “remind me to phone pete today.”
SFVs with phonemes representing, to the extent that it is                 The voice server application (188) in this example is con
practically feasible to do so, all pronunciations of all the           figured to receive, from a multimodal client located remotely
words in a human language. The lexicon (106) is an associa             across a network from the Voice server, digitized speech for
tion of words in text form with phonemes representing pro         55   recognition from a user and pass the speech along to the ASR
nunciations of each word; the lexicon effectively identifies           engine (150) for recognition. ASR engine (150) is a module of
words that are capable of recognition by an ASR engine. Also           computer program instructions, also stored in RAM in this
stored in RAM (168) is a Text To Speech (TTS) Engine                   example. In carrying out automated speech recognition, the
(194), a module of computer program instructions that                  ASR engine receives speech for recognition in the form of at
accepts text as input and returns the same text in the form of    60   least one digitized word and uses frequency components of
digitally encoded speech, for use in providing speech as               the digitized word to derive a Speech Feature Vector (SFV).
prompts for and responses to users of multimodal systems.              An SFV may be defined, for example, by the first twelve or
   The grammar (104) communicates to the ASR engine                    thirteen Fourier or frequency domain components of a sample
(150) the words and sequences of words that currently may be           of digitized speech. The ASR engine can use the SFV to infer
recognized. For precise understanding, distinguish the pur        65   phonemes for the word from the language-specific acoustic
pose of the grammar and the purpose of the lexicon. The                model (108). The ASR engine then uses the phonemes to find
lexicon associates with phonemes all the words that the ASR            the word in the lexicon (106).
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   Also stored in RAM is a VoiceXML interpreter (192), a                   Voice server (151) of FIG. 2 includes disk drive adapter
module of computer program instructions that processes                   (172) coupled through expansion bus (160) and bus adapter
VoiceXML grammars. VoiceXML input to VoiceXML inter                      (158) to processor (156) and other components of the voice
preter (192) may originate, for example, from VoiceXML                   server (151). Disk drive adapter (172) connects non-volatile
clients running remotely on multimodal devices, from X--V                data storage to the voice server (151) in the form of disk drive
clients running remotely on multimodal devices, from SALT                (170). Disk drive adapters useful in voice servers include
clients running on multimodal devices, or from Java client               Integrated Drive Electronics (IDE) adapters, Small Com
applications running remotely on multimedia devices. In this             puter System Interface (SCSI) adapters, and others as will
example, VoiceXML interpreter (192) interprets and executes              occur to those of skill in the art. In addition, non-volatile
VoiceXML segments representing Voice dialog instructions            10   computer memory may be implemented for a voice server as
received from remote multimedia devices and provided to                  an optical disk drive, electrically erasable programmable
VoiceXML interpreter (192) through voice server application              read-only memory (so-called EEPROM or “Flash
                                                                         memory), RAM drives, and so on, as will occur to those of
(188).                                                                   skill in the art.
   A multimodal application (195) in a thin clientarchitecture      15      The example voice server of FIG. 2 includes one or more
may provide Voice dialog instructions, VoiceXML segments,                input/output (I/O) adapters (178). I/O adapters in voice
VoiceXML <form elements, and the like, to VoiceXML                       servers implement user-oriented input/output through, for
interpreter (149) through data communications across a net               example, software drivers and computer hardware for con
work with multimodal application (195). The voice dialog                 trolling output to display devices such as computer display
instructions include one or more grammars, data input ele                screens, as well as user input from user input devices (181)
ments, event handlers, and so on, that advise the VoiceXML               Such as keyboards and mice. The example Voice server of
interpreter how to administer voice input from a user and                FIG. 2 includes a video adapter (209), which is an example of
Voice prompts and responses to be presented to a user. The               an I/O adapter specially designed for graphic output to a
VoiceXML interpreter administers such dialogs by process                 display device (180) Such as a display screen or computer
ing the dialog instructions sequentially in accordance with a       25   monitor. Video adapter (209) is connected to processor (156)
VoiceXML Form Interpretation Algorithm (FIA) (193). The                  through a high speed video bus (164), bus adapter (158), and
VoiceXML interpreter interprets VoiceXML dialogs pro                     the front side bus (162), which is also a high speed bus.
vided to the VoiceXML interpreter by a multimodal applica                   The exemplary voice server (151) of FIG. 2 includes a
tion.                                                                    communications adapter (167) for data communications with
   As mentioned above, a Form Interpretation Algorithm              30   other computers (182) and for data communications with a
(FIA) drives the interaction between the user and a multi                data communications network (100). Such data communica
modal application. The FIA is generally responsible for                  tions may be carried out serially through RS-232 connections,
selecting and playing one or more speech prompts, collecting             through external buses such as a Universal Serial Bus
a user input, either a response that fills in one or more input          (USB), through data communications data communications
items, or a throwing of Some event, and interpreting actions        35   networks such as IP data communications networks, and in
that pertained to the newly filled in input items. The FIA also          other ways as will occur to those of skill in the art. Commu
handles multimodal application initialization, grammar acti              nications adapters implement the hardware level of data com
Vation and deactivation, entering and leaving forms with                 munications through which one computer sends data commu
matching utterances and many other tasks. The FIA also                   nications to another computer, directly or through a data
maintains an internal prompt counter that is increased with         40   communications network. Examples of communications
each attempt to provoke a response from a user. That is, with            adapters useful for embodiments of the present inventive
each failed attempt to prompt a matching speech response                 Subject matter include modems for wired dial-up communi
from a user an internal prompt counter is incremented.                   cations, Ethernet (IEEE 802.3) adapters for wired data com
   Also stored in RAM (168) is an operating system (154).                munications network communications, and 802.11 adapters
Operating systems useful in Voice servers according to              45   for wireless data communications network communications.
embodiments of the present inventive subject matter include                 For further explanation, FIG.3 sets forth a functional block
UNIXTM, LinuxTM, Microsoft NTTM, AIXTM, IBM's i5/OSTM,                   diagram of exemplary apparatus for improving speech capa
and others as will occur to those of skill in the art. Operating         bilities of a multimodal application and dynamically extend
system (154), voice server application (188), VoiceXML                   ing the speech prompts of a multimodal application according
interpreter (192), ASR engine (150), JVM (102), and TTS             50   to the present inventive subject matter in a thin client archi
Engine (194) in the example of FIG. 2 are shown in RAM                   tecture according to embodiments of the present inventive
(168), but many components of such software typically are                subject matter. The example of FIG.3 includes a multimodal
stored in non-volatile memory also, for example, on a disk               device (152) and a voice server (151) connected for data
drive (170).                                                             communication by a VOIP connection (216) through a data
   Voice server (151) of FIG. 2 includes bus adapter (158), a       55   communications network (100). A multimodal application
computer hardware component that contains drive electron                 (195) runs on the multimodal device (152), and a voice server
ics for high speed buses, the front side bus (162), the video bus        application (188) runs on the voice server (151). The multi
(164), and the memory bus (166), as well as drive electronics            modal client application (195) may be a set or sequence of
for the slower expansion bus (160). Examples of bus adapters             X+V (892) or SALT documents that execute on multimodal
useful in Voice servers according to embodiments of the             60   browser (196), a Java voice application that executes on the
present inventive subject matter include the Intel North                 Java Virtual Machine (101), or a multimodal application
bridge, the Intel Memory Controller Hub, the Intel South                 implemented in other technologies as may occur to those of
bridge, and the Intel I/O Controller Hub. Examples of expan              skill in the art. The multimodal client application (195) also
sion buses useful in Voice servers according to embodiments              includes a prompt document (894). A prompt document is a
of the present inventive subject matter include Industry Stan       65   markup documents making up a multimodal application that
dard Architecture (ISA) buses and Peripheral Component                   includes speech prompts. The example multimodal device of
Interconnect (PCI) buses.                                                FIG.3 also includes a sound card (174), which is an example
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of an I/O adapter specially designed for accepting analog                program instructions that provide text-to-speech (TTS)
audio signals from a microphone (176) and converting the                 conversion for voice prompts and Voice responses to user
audio analog signals to digital form for further processing by           input in multimodal applications such as, for example, X--V
a codec (183).                                                           applications, SALT applications, or Java Speech applica
   In addition to the multimodal sever application (188), the            tions.
Voice server (151) also has installed upon it a speech engine               The voice server application (188) receives speech for
(153) with an ASR engine (150), a grammar (104), a lexicon               recognition from a user and passes the speech through API
(106), a language-specific acoustic model (108), and a TTS               calls to VoiceXML interpreter (192) which in turn uses an
engine (194), as well as a JVM (102), and a Voice XML                    ASR engine (150) for speech recognition. The ASR engine
interpreter (192). VoiceXML interpreter (192) interprets and        10   receives digitized speech for recognition, uses frequency
executes VoiceXML dialog instructions received from the                  components of the digitized speech to derive an SFV, uses the
multimodal application and provided to VoiceXML inter                    SFV to infer phonemes for the word from the language
preter (192) through voice server application (188).                     specific acoustic model (108), and uses the phonemes to find
VoiceXML input to VoiceXML interpreter (192) may origi                   the speech in the lexicon (106). The ASR engine then com
nate from the multimodal application (195) implemented as           15   pares speech found as words in the lexicon to words in a
an X-V client running remotely on the multimodal device                  grammar (104) to determine whether words or phrases in
(152). As noted above, the multimedia device application                 speech are recognized by the ASR engine.
(195) also may be implemented as a Java client application                  A multimodal application (195), in some embodiments of
running remotely on the multimedia device (152), a SALT                  the present inventive Subject matter, may run in a multimodal
application running remotely on the multimedia device (152),             browser (196). The multimodal browser of FIG. 3 is capable
and in other ways as may occur to those of skill in the art.             of receiving a media file having a metadata container, retriev
   VOIP stands for Voice Over Internet Protocol, a generic               ing from the metadata container a speech artifact related to
term for routing speech over an IP-based data communica                  content stored in the media file for inclusion in the speech
tions network. The speech data flows over a general-purpose              engine available to the multimodal browser, determining
packet-switched data communications network, instead of             25   whether the speech artifact includes a grammar rule or a
traditional dedicated, circuit-switched Voice transmission               pronunciation rule. If the speech artifact includes a grammar
lines. Protocols used to carry voice signals over the IP data            rule, the multimodal browser is capable of modifying the
communications network are commonly referred to as 'Voice                grammar of the speech engine to include the grammar rule. If
over IP or VOIP protocols. VOIP traffic may be deployed                  the speech artifact includes a pronunciation rule, the multi
on any IP data communications network, including data com           30   modal browser is capable of modifying the lexicon of the
munications networks lacking a connection to the rest of the             speech engine to include the pronunciation rule.
Internet, for instance on a private building-wide local area                The multimodal browser of FIG.3 also includes a prompt
data communications network or LAN.                                      generation engine (850) capable of dynamically extending
   Many protocols are used to effect VOIP. The two most                  the speech prompts of a multimodal application according to
popular types of VOIP are effected with the IETF’s Session          35   embodiments of the present inventive subject matter. The
Initiation Protocol (SIP) and the ITU's protocol known as                prompt generation engine (850) comprises automated com
 H.323. SIP clients use TCP and UDP port 5060 to connect to              puting machinery capable of receiving a media file (324)
SIP servers. SIP itself is used to set up and tear down calls for        having a metadata container, retrieving from the metadata
speech transmission. VOIP with SIP then uses RTP for trans               container a speech prompt related to content stored in the
mitting the actual encoded speech. Similarly, H.323 is an           40   media file (324) for inclusion in the multimodal application
umbrella recommendation from the standards branch of the                 (195); and modifying the multimodal application (195) to
International Telecommunications Union that defines proto                include the speech prompt (806). The prompt generation
cols to provide audio-visual communication sessions on any               engine, in many embodiments of the present inventive subject
packet data communications network.                                      matter, carries out dynamically extending the speech prompts
   The apparatus of FIG.3 operates in a manner that is similar      45   when importing the media file onto the multimodal device. In
to the operation of the system of FIG. 2 described above.                the example of FIG. 3, the prompt generation engine is
Multimodal application (195) is a user-level, multimodal,                included in the multimodal browser. This is for example, and
client-side computer program that presents a voice interface             not for limitation. In fact, the prompt generation engine may
to user (128), provides audio prompts and responses (314)                be implemented as a stand-along module, included in a mul
and accepts input speech for recognition (315). Multimodal          50   timodal media player, or included in other modules as will
application (195) provides a speech interface through which a            occur to those of skill in the art.
user may provide oral speech for recognition through micro                  The multimodal application (195) is operatively coupled to
phone (176) and have the speech digitized through an audio               the ASR engine (150). In this example, the operative coupling
amplifier (185) and a coder/decoder (codec) (183) of a                   between the multimodal application and the ASR engine
sound card (174) and provide the digitized speech for recog         55   (150) is implemented with a VOIP connection (216) through
nition to ASR engine (150). Multimodal application (195)                 a voice services module (130), then through the voice server
then packages the digitized speech in a recognition request              application (188) and either JVM (102), VoiceXML inter
message according to a VOIP protocol, and transmits the                  preter (192), or SALT interpreter (103), depending on
speech to voice server (151) through the VOIP connection                 whether the multimodal application is implemented in X--V.
(216) on the network (100).                                         60   Java, or SALT. The voice services module (130) is a thin layer
   Voice server application (188) provides voice recognition             of functionality, a module of computer program instructions,
services for multimodal devices by accepting dialog instruc              that presents an API (316) for use by an application level
tions, VoiceXML segments, and returning speech recognition               program in providing dialog instructions and speech for rec
results, including text representing recognized speech, text             ognition to a Voice server application (188) and receiving in
for use as variable values in dialogs, and output from execu        65   response Voice prompts and other responses. In this example,
tion of semantic interpretation Scripts as well as Voice                 application level programs are represented by multimodal
prompts. Voice server application (188) includes computer                application (195), JVM (101), and multimodal browser (196).
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                              15                                                                16
   The voice services module (130) provides data communi          signals from  a microphone    (176)   and converting the audio
cations services through the VOIP connection and the voice analog signals to digital form for further processing by a
server application (188) between the multimodal device (152) codec (183). The sound card (174) is connected to processor
and the VoiceXML interpreter (192). The API (316) is the (156) through expansion bus (160), bus adapter (158), and
same API presented to applications by a VoiceXML inter front side bus (162).
preter when the VoiceXML interpreter is installed on the             Also stored in RAM (168) in this example is a multimodal
multimodal device in a thick client architecture (316 on FIG. application (195), a module of computer program instruc
4). So from the point of view of an application calling the API tions capable of operating a multimodal device as an appara
(316), the application is calling the VoiceXML interpreter tus that supports embodiments of the present inventive sub
directly. The data communications functions of the Voice 10 ject matter. The multimodal application (195) runs with a
services module (130) are transparent to applications that call multimodal browser (196) and implements speech recogni
the API (316). At the application level, calls to the API (316) tion by accepting speech for recognition from a user and
may be issued from the multimodal browser (196), which sending the speech for recognition through API calls to the
provides an execution environment for the multimodal appli ASR engine (150). The multimodal application (195) and the
cation (195) when the multimodal application is implemented 15 multimodal browser (196) implement speech synthesis gen
with X--V. And calls to the API (316) may be issued from the erally by sending words to be used as prompts for a user to the
JVM (101), which provides an execution environment for the TTS engine (194). As an example of thick clientarchitecture,
multimodal application (195) when the multimodal applica the multimodal application (195) in this example does not
tion is implemented with Java.                                    send speech for recognition across a network to a Voice server
   Improving speech capabilities of a multimodal application for recognition, and the multimodal application (195) in this
and dynamically extending the speech prompts according to example does not receive synthesized speech, TTS prompts
embodiments of the present inventive subject matter in thick and responses, across a network from a Voice server. All
client architectures is generally implemented with multimo grammar processing, Voice recognition, and text to speech
dal devices, that is, automated computing machinery or com conversion in this example is performed in an embedded
puters. In the system of FIG. 1, for example, all the multimo 25 fashion in the multimodal device (152) itself.
dal devices (152) are implemented to some extent at least as         More particularly, multimodal application (195) in this
computers. For further explanation, therefore, FIG. 4 sets example is a user-level, multimodal, client-side computer
forth a block diagram of automated computing machinery program that provides a speech interface through which a user
comprising an example of a computer useful as a multimodal may provide oral speech for recognition through microphone
device (152) for improving speech capabilities of a multimo 30 (176), have the speech digitized through an audio amplifier
dal application and dynamically extending the speech (185) and a coder/decoder (codec) (183) of a sound card
prompts according to embodiments of the present inventive (174) and provide the digitized speech for recognition to ASR
Subject matter. In a multimodal device implementing a thick engine (150). The multimodal application (195) may be
client architecture as illustrated in FIG. 4, the multimodal      implemented as a set or sequence of X-V documents execut
device (152) has no connection to a remote voice server 35 ing in a multimodal browser (196) or microbrowser that
containing a VoiceXML interpreter and a speech engine. All passes VoiceXML grammars and digitized speech by calls
the components needed for speech synthesis and Voice rec through an API (316) directly to an embedded VoiceXML
ognition according to embodiments of the present inventive interpreter (192) for processing. The embedded VoiceXML
subject matter are installed or embedded in the multimodal interpreter (192) may in turn issue requests for speech recog
device itself.                                                 40 nition through API calls directly to the embedded ASR engine
   The example multimodal device (152) of FIG. 4 includes (150). Multimodal application (195) also can provide speech
several components that are structured and operate similarly synthesis, TTS conversion, by API calls to the embedded TTS
as doparallel components of the Voice server, having the same engine (194) for Voice prompts and Voice responses to user
drawing reference numbers, as described above with refer input.
ence to FIG. 2: at least one computer processor (156), fron 45 In further exemplary embodiments, the multimodal appli
tside bus (162), RAM (168), high speed memory bus (166), cation (195) may be implemented as a set or sequence X+V
bus adapter (158), video adapter (209), video bus (164), documents or SALT documents executed on a multimodal
expansion bus (160), communications adapter (167), I/O browser (196) or microbrowser that issues calls through the
adapter (178), disk drive adapter (172), an operating system VoiceXML API (316) for speech recognition and speech syn
(154), a JVM (102), a VoiceXML Interpreter (192), a speech 50 thesis services. In addition to X--V, SALT, and Java imple
engine (153), and so on. As in the system of FIG.4, the speech mentations, multimodal application (195) may be imple
engine in the multimodal device of FIG. 2 includes an ASR mented in other technologies as will occur to those of skill in
engine (150), a grammar (104), a lexicon (106), a language the art, and all Such implementations are well within the scope
dependent acoustic model (108), and a TTS engine (194). The of the present inventive subject matter.
VoiceXML interpreter (192) administers such dialogs by pro 55 The multimodal application (195) is operatively coupled to
cessing the dialog instructions sequentially in accordance the ASR engine (150) through an API (320). In this example,
with a VoiceXML Form Interpretation Algorithm (FIA) the operative coupling between the multimodal application
(193).                                                            and the ASR engine (150) is implemented by either JVM
   The speech engine (153) in this kind of embodiment, a (102), VoiceXML interpreter (192), or SALT interpreter
thick client architecture, often is implemented as an embed 60 (103), depending on whether the multimodal application is
ded module in a small form factor device such as a handheld       implemented in X--V. Java, or SALT. When the multimodal
device, a mobile phone, PDA, and the like. An example of an application (195) is implemented in X--V, the operative cou
embedded speech engine useful according to embodiments of pling is effected through the multimodal browser (196),
the present inventive subject matter is IBM's Embedded Via which provides an operating environment and an interpreter
Voice Enterprise. The example multimodal device of FIG. 4 65 for the X--V application, and then through the VoiceXML
also includes a sound card (174), which is an example of an interpreter, which passes grammars and Voice utterances for
I/O adapter specially designed for accepting analog audio recognition to the ASR engine. When the multimodal appli
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cation (195) is implemented in Java Speech, the operative              device for the multimodal device. The multimodal browser
coupling is effected through the JVM (102), which provides             comprises a module of automated computing machinery for
an operating environment for the Java application and passes           executing the multimodal application and also supports the
grammars and Voice utterances for recognition to the ASR               execution of a media file player. Such a media file player is
engine. When the multimodal application (195) is imple                 capable of playing media files such as audio or video files.
mented in SALT, the operative coupling is effected through             Examples of such media files include MPEG-3 (.mp3) files,
the SALT interpreter (103), which provides an operating                MPEG 4 (.mp4) files, Advanced Audio Coding (AAC)
environment and an interpreter for the X--V application and            compressed files, Advances Streaming Format (ASF) Files,
passes grammars and Voice utterances for recognition to the            WAV files, and many others as will occur to those of skill in
ASR engine.                                                       10   the art.
   The multimodal application (195) in this example, running             The method of FIG. 5 includes receiving (502), by the
on a multimodal device (152) that contains its own                     multimodal browser (196), a media file (324) having a meta
VoiceXML interpreter (192) and its own speech engine (153)             data container (504). A metadata container contains metadata
with no network or VOIP connection to a remote voice server            describing the content of the media file. Such content may
containing a remote VoiceXML interpreter or a remote              15   include, for example, the name of the artist of the song con
speech engine, is an example of a so-called thick client               tained in the media file, the name of the album associated with
architecture, so-called because all of the functionality for           that Song, album art, the name of the Song contained in the
processing Voice mode interactions between a user and the              media file, and any other metadata that will occur to those of
multimodal application—as well as the functionality for                skill in the art.
speech recognition is implemented on the multimodal                       MPEG media files support a metadata container called ID3
device itself.                                                         tags. One particular form of the ID3 tag is an ID3V2 tag.
   The multimodal browser (196) of FIG. 4 operates generally           ID3V2 tag provides a container for metadata associated with
to carry out improving speech capabilities of a multimodal             the media file. An ID3v2 tag includes one or more frames
application by receiving a media file (324) having a metadata          Supporting the inclusion of text, images, files, and other infor
container, retrieving from the metadata container a speech        25   mation. ID3v2 tags are flexible and expandable because pars
artifact related to content stored in the media file (324) for         ers that do not support specific functions of an ID3 v2 tag will
inclusion in the speech engine (153) available to the multi            ignore those functions. ID3V2 supports Unicode thereby pro
modal browser; determining whether the speech artifact                 viding the ability to include extracted text of many different
includes agrammar rule or a pronunciation rule; if the speech          languages. The maximum tag size of an ID3V2 tag is typically
artifact includes a grammar rule, modifying the grammar           30   256 megabytes and maximum frame size is typically 16
(104) of the speech engine to include the grammar rule; and if         megabytes.
the speech artifact includes a pronunciation rule, modifying              The method of FIG. 5 includes retrieving (506), by the
the lexicon (106) of the speech engine to include the pronun           multimodal browser (196), from the metadata container (504)
ciation rule.                                                          a speech artifact (508) related to content stored in the media
   The multimodal browser of FIG. 4 also includes a prompt        35   file (324) for inclusion in the speech engine (153) available to
generation engine (850) capable of dynamically extending               the multimodal browser (196). A speech artifact is one or
the speech prompts of a multimodal application according to            more individual speech rules for inclusion in either a gram
embodiments of the present inventive subject matter. The               mar or lexicon available to a speech engine used by a multi
prompt generation engine (850) comprises automated com                 modal browser for use in executing a multimodal application.
puting machinery capable of receiving a media file (324)          40   Such speech artifacts are often embodied in an XML docu
having a metadata container, retrieving from the metadata              ment. The artifact may be extracted from the XML document
container a speech prompt related to content stored in the             and included in a larger grammar defining the words under
media file (324) for inclusion in the multimodal application           stood by the speech recognition engine or in a lexicon defin
(195); and modifying the multimodal application (195) to               ing the manner in which the words so recognized are pro
include the speech prompt (806). The prompt generation            45   nounced.
engine, in many embodiments of the present inventive subject              In the method of FIG. 5, retrieving (506), by the multimo
matter, carries out dynamically extending the speech prompts           dal browser (196), from the metadata container (504) a
when importing the media file onto the multimodal device. In           speech artifact (508) for inclusion in a speech engine (153)
the example of FIG. 3, the prompt generation engine is                 available to the multimodal browser (196) is carried out by
included in the multimodal browser. This is for example, and      50   scanning (550) the metadata container (504) for a tag identi
not for limitation. In fact, the prompt generation engine may          fying the speech artifact (508). Scanning the metadata con
be implemented as a stand-along module, included in a mul              tainer for a tag identifying the speech artifacts may be carried
timodal media player, or included in other modules as will             out by scanning an ID3 container of an MPEG media file for
occur to those of skill in the art.                                    a frame identifying speech artifacts. As mentioned above,
   For further explanation, FIG. 5 sets forth a flow chart        55   ID3V2 tags includes one or more frames Supporting the inclu
illustrating a method of improving speech capabilities of a            sion of text, images, files, and other information. Such ID3
multimodal application. The method of FIG. 5 is imple                  tags may be expanded to include frames for speech artifacts.
mented with a multimodal browser (196) and a speech engine             Such a new frame may identify a grammar rule or a lexicon
(153) operating on a multimodal device Supporting multiple             for inclusion in a speech engine.
modes of user interaction with the multimodal application.        60      The method of FIG. 5 includes determining (510) whether
The modes of user interaction supported by the multimodal              the speech artifact (508) includes a grammar rule or a pro
device include a voice mode and one or more non-voice                  nunciation rule. Determining (510) whether the speech arti
modes. The Voice mode includes accepting speech input from             fact (508) includes a grammar rule or a pronunciation rule
a user, digitizing the speech, and providing digitized speech          may be carried out by identifying a frame in an ID3 tag
to a speech engine available to the multimodal browser for        65   designating a grammar rule or a pronunciation rule. A gram
recognition. The non-voice mode includes accepting input               mar rule identifies words and sequences of words that may be
from a user through physical user interaction with a user input        recognized by a speech engine in executing a multimodal
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application. A pronunciation rule identifies an association of        (506), by the multimodal browser (196), from the metadata
words in text form with phonemes representing pronuncia               container (504) a speech artifact (508) related to content
tions of the words                                                    stored in the media file (324) for inclusion in the speech
   If the speech artifact includes a grammar rule (512), the          engine (153) available to the multimodal browser (196);
method of FIG. 5 includes modifying (514), by the multimo        5    determining (510) whether the speech artifact (508) includes
dal browser (196), the grammar (104) of the speech engine             a grammar rule or a pronunciation rule and if the speech
(153) to include the grammar rule (516). Modifying (514), by          artifact includes a grammar rule (512), modifying (514), by
the multimodal browser (196), the grammar (104) of the                the multimodal browser (196), the grammar (104) of the
speech engine (153) to include the grammar rule (516) may be          speech engine (153) to include the grammar rule (516); and if
carried out by calling functions in an API exposed by the        10
                                                                      the speech artifact includes a pronunciation rule (518), modi
speech engine to modify the grammar of the speech engine to           fying (520), by the multimodal browser (196), the lexicon
include the grammar rule (516).                                       (106) of the speech engine (153) to include the pronunciation
   If the speech artifact includes a pronunciation rule (518),
the method of FIG. 5 includes modifying (520), by the mul             rule (522).
timodal browser (196), the lexicon (106) of the speech engine    15      In the method of FIG. 7, retrieving (506), by the multimo
(153) to include the pronunciation rule (522). Modifying              dal browser (196), from the metadata container (504) a
(520), by the multimodal browser (196), the lexicon (106) of          speech artifact (508) for inclusion in a speech engine (153)
the speech engine (153) to include the pronunciation rule             available to the multimodal browser (196) includes retrieving
(522) may be carried out by calling functions in an API               (650) an XML document (652) from the metadata container
exposed by the speech engine to modify the lexicon (106) of           (504). Such an XML document includes text of a pronuncia
the speech engine to include the pronunciation rule (518).            tion rule for inclusion in a speech engine.
   For further explanation, FIG. 6 sets forth a flow chart               In the method of FIG.7, modifying (520), by the multimo
illustrating an exemplary method of improving speech capa             dal browser (196), the lexicon (106) of the speech engine
bilities of a multimodal application. The method of FIG. 6 is         (153) to include the pronunciation rule (522) includes extract
similar to the method of FIG. 5 in that the method of FIG. 6     25   ing (654) from the XML document (652) retrieved from the
includes receiving (502), by the multimodal browser (196), a          metadata container a pronunciation rule and including (656)
media file (324) having a metadata container (504); retrieving        the pronunciation rule (522) in an XML lexicon document
(506), by the multimodal browser (196), from the metadata             (658) in the speech engine (153). Extracting (654) from the
container (504) a speech artifact (508) related to content            XML document (652) retrieved from the metadata container
stored in the media file (324) for inclusion in the speech       30   a pronunciation rule and including (656) the pronunciation
engine (153) available to the multimodal browser (196);               rule (522) in an XML lexicon document (658) in the speech
determining (510) whether the speech artifact (508) includes          engine (153) may include copying the text of the grammar
a grammar rule or a pronunciation rule and if the speech              rule from the XML document and providing the text to a
artifact includes a grammar rule (512), modifying (514), by           speech engine through a function call parameterized with the
the multimodal browser (196), the grammar (104) of the           35   text for inclusion in the XML grammar document in the
speech engine (153) to include the grammar rule (516); and if         speech engine.
the speech artifact includes a pronunciation rule (518), modi            For further explanation, consider the following use case for
fying (520), by the multimodal browser (196), the lexicon             improving speech capabilities of a multimodal application
(106) of the speech engine (153) to include the pronunciation         according to embodiments of the present inventive subject
rule (522).                                                      40   matter. A multimodal browser configured according to
   In the method of FIG. 6, retrieving (506), by the multimo          embodiments of the present inventive subject matter receives
dal browser (196), from the metadata container (504) a                a media file having an ID3 metadata container and retrieves
speech artifact (508) for inclusion in a speech engine (153)          from the ID3 metadata container the following speech artifact
                                                                      embodied in an XML document related to content stored in
available to the multimodal browser (196) includes retrieving         the media file for inclusion in the speech engine available to
(550) an XML document (552) from the metadata container          45
                                                                      the multimodal browser:
(504). Such an XML document includes text of a grammar
rule for inclusion in a speech engine.
   In the method of FIG. 6, modifying (514), by the multimo
dal browser (196), the grammar (104) of the speech engine             <?xml version=“1.0 encoding =“iso-8859-12s
(153) to include the grammar rule (516) includes extracting      50   <! DOCTYPE grammar PUBLIC *-//W3C/DTD GRAMMAR 1.0//EN
(554) from theXML document (552) retrieved from the meta               http://www.w3.org/TR speech-grammargr
                                                                      <grammar version="1.0 xmlins="http://www.w3.org/2001/06/grammar
data container a grammar rule and including (556) the gram            Xml:lang="en-US root="artist-nam
mar rule (516) in an XML grammar document in the speech               <rule id="artist-names' scope="public'>
engine (153). Extracting (554) from the XML document                     <tag-Sid3-frame>TPENameGrammar-id3-frame></tag
                                                                        <one-of
(552) retrieved from the metadata container a grammar rule       55
                                                                            <item-John Cougar-item
and including (556) the grammar rule (516) in an XML gram                   <item-John Cougar Mellencamp-item
mar document in the speech engine (153) may include copy                    <item-John Mellencamp-items
ing the text of the grammar rule from the XML document and              < one-of
providing the text to a speech engine through a function call         <rule>
                                                                      <grammars
parameterized with the text for inclusion in the XML gram        60
mar document in the speech engine.
   For further explanation, FIG. 7 sets forth a flow chart               A multimodal browser according to embodiments of the
illustrating an exemplary method of improving speech capa             present inventive subject matter determines whether the
bilities of a multimodal application. The method of FIG. 7 is         speech artifact includes a grammar rule or a pronunciation
similar to the method of FIG. 5 in that the method of FIG. 7     65   rule. In this example, the speech artifact is a grammar rule so
includes receiving (502), by the multimodal browser (196), a          identified by the ID3 tag frame TPENameGrammar which
media file (324) having a metadata container (504); retrieving        is predefined to identify grammar rules for names of artists.
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The grammar rule id identifies the grammar rule as a rule for               is being defined by the pronunciation rule is Sade. The
artist names. In this case the grammar rule identifies three                pronunciation rule also defines the pronunciation of Sade
artist names associated with the content of the media file,                 with the tag <phoneme> identifying the phonemes for correct
“John Cougar, “John Cougar Mellencamp.” and “John Mel                       pronunciation of the artist Sade. A multimodal browser
lencamp'. A multimodal browser according to embodiments                     according to embodiments of the present inventive subject
of the present inventive subject matter then may include this               matter then may include this pronunciation rule in an XML
grammar rule in an XML grammar of a speech engine by                        lexicon of a speech engine by providing the text of the pro
providing the text of the grammar rule for inclusion in the                 nunciation rule for inclusion in the lexicon of the speech
grammar of the speech engine. Multimodal applications for                   engine.
playing songs by John Cougar Mellencamp may now usefully               10      Multimodal applications for playing Songs by Sade may
be speech driven using any one of the three names used by                   now usefully be speech driven using the proper pronunciation
John Cougar Mellencamp during his career, “John Cougar,                     of the artist's name. Such applications may have been inca
“John Cougar Mellencamp, and “John Mellencamp” Such                         pable of a Voice mode using the proper pronunciation of the
applications may have been incapable of a voice mode using                  artist's name prior to the inclusion of the pronunciation rule.
all three names prior to the inclusion of the grammar rule.            15      Multimodal applications previously unable to recognize
   Continuing now with a use case for pronunciation rules, a                particular words or pronunciations of words related to the
multimodal browser configured according to embodiments of                   content of a media file may now usefully interact with users
the present inventive subject matter receives a media file                  using those particular words or pronunciations as the gram
having an ID3 metadata container and retrieves from the ID3                 mars and lexicons of the speech engine have been improved
metadata container the following speech artifact embodied in                for use with multimodal applications. However, the recogni
an XML document related to content stored in the media file                 tion of those words and pronunciations by a speech engine
for inclusion in the speech engine available to the multimodal              does not affect the multimodal applications ability to prompt
browser:                                                                    a user for multimodal interaction related to the content of the
                                                                            media file. That is, without more, the multimodal application
                                                                       25   will usefully accept as responses to prompts words and pro
                                                                            nunciations of words that the multimodal application will not
<?xml version=“1.0 encoding =“iso-8859-12s                                  use in prompting a user. Therefore, a multimodal applica
<!DOCTYPE grammar PUBLIC *-//W3C/DTD GRAMMAR 1.0//EN                        tion’s speech prompts may also be extended to include spe
 http://www.w3.org/TR speech-grammar gr
<grammar version="1.0 xmlins="http://www.w3.org/2001/06/grammar             cific prompts related to the content of a media file.
Xml:lang="en-US root="artist-name                                      30      For further explanation, FIG. 8 sets forth a flow chart
<lexicon uri=id3: TPEPronunciationName''>                                   illustrating an exemplary method of dynamically extending
  <rule id="artist-names' scope="public'>                                   the speech prompts of a multimodal application. The method
  <item-Sade-Sitem                                                          of FIG. 8 is implemented with a prompt generation engine
                                                                            (850), a module of automated computing machinery operat
  </rule>                                                              35   ing on a multimodal device Supporting multiple modes of user
</grammars                                                                  interaction with the multimodal application. Those multiple
                                                                            modes of user interaction include a Voice mode and one or
   A multimodal browser according to embodiments of the                     more non-voice modes. The Voice mode includes accepting
present inventive subject matter determines whether the                     speech input from a user, digitizing the speech, and providing
speech artifact includes a grammar rule or a pronunciation             40   digitized speech to a speech engine. The non-voice mode
rule. In this example the speech artifact is a pronunciation rule           includes accepting input from a user through physical user
so identified by the ID3 tag frame TPEPronunciationName                     interaction with a user input device for the multimodal device.
which is predefined to identify pronunciation rules for names               The multimodal device comprises a module of automated
of artists. The pronunciation rule id identifies the grammar                computing machinery for executing the multimodal applica
word associated with a pronunciation rule which is Sade, an            45   tion and Supports execution of a media file player, a module of
artist name that is typically difficult for a speech recognition            automated computing machinery for playing media files.
engine to recognize and a text-to-speech engine to correctly                   The method of FIG. 8 includes receiving (802), by the
pronounce. Sade is pronounced Shaaday. The XML docu                         prompt generation engine (850), a media file (324) having a
ment above also references a URI containing an XML pro                      metadata container (504). Receiving (802) a media file (324)
nunciation rule and the multimodal browser retrieves the               50   having a metadata container (504) is typically carried out as
XML pronunciation rule below:                                               part of the process of importing the media file to the multi
                                                                            modal device Such that the media file may be played using the
                                                                            multimodal device's media file player.
                                                                              As mentioned above, a metadata container contains meta
<?xml version=“1.0 encoding=UTF-8">                                    55   data describing the content of the media file. Such content
<lexicon version="1.0
Xmlins="http://www.w3.org/2005/01/pronunciation-lexicon                     may include, for example, the name of the artist of the song
Xmlins:Xsi="http://www.w3.org/2001/XMLSchema-instance'                      contained in the media file, the name of the album associated
Xsi:schemaLocation="http://www.w3.org/2005/01/pronunciation-lexicon         with that song, album art, the name of the Song contained in
http://www.w3.org/TR 2007/CR-pronunciation-lexicon-20071212/pls.xsd'        the media file, and any other metadata that will occur to those
alphabet="ipaxml:lang="en-GB'>                                         60   of skill in the art.
<lexemes
  <grapheme>Sades, grapheme>                                                   MPEG media files support a metadata container called ID3
  <phoneme>SHAAD EY</phoneme>                                               tags. One particular form of the ID3 tag is an ID3V2 tag.
  <lexemes                                                                  ID3V2 tag provides a container for metadata associated with
</lexicon
                                                                            the media file. An ID3v2 tag includes one or more frames
                                                                       65   Supporting the inclusion of text, images, files, and other infor
  In this example, the pronunciation rule identifies by the tag             mation. ID3v2 tags are flexible and expandable because pars
<grapheme> that the name of the artist whose pronunciation                  ers that do not support specific functions of an ID3 v2 tag will
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ignore those functions. ID3V2 supports Unicode thereby pro                                              -continued
viding the ability to include extracted text of many different              spid=john-cougar-playlists-Pick one of your John Cougar Songs:
languages. The maximum tag size of an ID3V2 tag is typically                Walk Tall, Pink Houses, Lonely Ol' Nights< p >
256 megabytes and maximum frame size is typically 16                        <p id="sade-playlist's You've got Sade's greatest hits: Smooth
megabytes.                                                                  Operator, Your Love is King, No Ordinary Love-po
   The method of FIG.8 also includes retrieving (804), by the               <media id="dillon-playlist
prompt generation engine (850) from the metadata container                  src=“id3:/TPESpeech PromptArtistPlaylist/>
(504), a speech prompt (806) related to content stored in the
media file (324) for inclusion in the multimodal application
(195). A speech prompt is an audio phrase played by a mul          10     In the example above, two text strings were retrieved from
timodal application to provoke a response from a user. Speech           a metadata container of a media file and included in the
prompts and their responses typically drive the interaction             updated prompt document above. Each speech prompt was
between a multimodal application and a user. Speech prompts             assigned a prompt id identifying the prompt as a text string.
retrieved from the metadata container of a medial file may be           The tag <p id=john-cougar-playlist'> identifies a prompt
in the form of text to be rendered as speech with a text-to        15   for a playlist of the artist John Cougar. A multimodal appli
speech engine or in the form of an audio file to be played by           cation using the updated prompt document is now capable of
the multimodal application and multimodal device. Retriev               rendering the speech prompt with a text to speech engine to
ing, by the prompt generation engine, from the metadata                 say “Pick one of your John Cougar songs: Walk Tall, Pink
container a speech prompt related to content stored in the              Houses, Lonely Ol' Nights.” Similarly, the tag <p id="sade
media file for inclusion in the multimodal application, there           playlist'> identifies a prompt for a playlist of the artist
fore, in alternative embodiments, may include retrieving a               Sade. A multimodal application using the updated prompt
text string prompt for execution by a text to speech engine or          document is now capable of rendering the speech prompt with
retrieving an audio prompt to be played by the multimodal               a text to speech engine to say “You’ve got Sade’s greatest hits:
device.                                                                 Smooth Operator, Your Love is King, No Ordinary Love.”
   In the method of FIG. 8, retrieving (804), by the prompt        25      Also in the example above, one additional speech prompt is
generation engine (850), from the metadata container (504) a            included in the updated prompt document that is embodied as
speech prompt (806) related to content stored in the media file         an audio file. The audio file speech prompt was assigned a
(324) for inclusion in the multimodal application (195) is              prompt id identifying the prompt as an audio file. The tag
carried out by identifying (812) a tag (856) for prompts in the         <media         id="dillon-playlist”             src="id3://TPESpeech
metadata container (504). Identifying (812) a tag (856) for        30   PromptArtistPlaylist/> identifies a speech prompt as an
prompts in the metadata container (504) may include identi              audio file for a playlist of the artist Bob Dillon. Such an
fying a frame for prompts in an ID3 container of an MPEG                audio speech prompt may be a recorded prompt made by the
media file. As mentioned above, ID3V2 tags includes one or              artists themselves or by any other person or process.
more frames Supporting the inclusion of text, images, files,               A multimodal application unable to render the speech
and other information. Such ID3 tags may be expanded to            35   prompts above prior to updating the prompt document may
include frames for speech prompts, such as, for example, the            render each of the speech prompts above after the prompt
tag TPESpeech PromptArtistName to identify the speech                   document is updated according to embodiments of the
prompt of an artist’s name of the a song contained in the               present inventive Subject matter. For furtherexplanation, con
media file. Such a new frame may identify a speech prompt               sider the following Snippet of a multimodal application:
for inclusion in a multimodal application.                         40
   The method of FIG. 8 also includes modifying (808), by the
prompt generation engine (850), the multimodal application
(195) to include the speech prompt (806). In the method of                  <DOCTYPE html PUBLIC - VoiceXML Forum, DTD
                                                                            XHTML+Voice 1.2. EN'
FIG. 8 modifying (808), by the prompt generation engine                     "http://www.voicexml.org/specsimultimodalix--v/12/dtd/
(850), the multimodal application (195) to include the speech      45       xhtml+voice12.dtd
prompt (806) is carried out by updating (814) a prompt docu                 <html Xmlins="http://www.w3.org/1999/xhtml
ment (852) with the retrieved speech prompt (806). A prompt                   Xmlins:vXml="http://www.w3.org/2001.?vXml
                                                                              Xmlins:ev="http://www.w3.org/2001/xml-events'
document is one of the markup documents making up a mul                       Xmlins:Xv="http://www.voicexml.org/2002/xhtml+voice'
timodal application that includes speech prompts for use by                 Xml:lang="en-US's
the multimodal application. Updating a prompt document             50       <head>
may include copying body of the speech prompt from the                       <title> Dynamically Extending The Speech Prompts Of A
                                                                            Multimodal Application</title>
metadata container to an existing prompt document or creat                  <script type="text.javascript">
ing a new prompt document including the speech prompt. For
further explanation, consider the following exemplary                         function play (name)
prompt document updated according to embodiments of the            55
                                                                              . This uses the multimedia interfaces on the device to
present inventive Subject matter:                                             fi play media by the artist in “name.
                                                                              function updatePlayList()
    <DOCTYPE html PUBLIC - VoiceXML Forum, DTD
                                                                   60         // Uses the artist selection to update playlist with a
    XHTML+Voice 1.2. EN'                                                      // list of songs to select from
    "http://www.voicexml.org/specsimultimodalix+v/12/dtd.
    xhtml+voice12.dtd                                                         function getPrompt(name)
    <html Xmlins="http://www.w3.org/1999/xhtml
      Xmlins:vXml="http://www.w3.org/2001.?vXml                               return “promptiti" + $ArtistName + “-playlist:
      Xmlins:ev="http://www.w3.org/2001/xml-events'
      Xmlins:XV="http://www.voicexml.org/2002/xhtml+voice'         65         function getSongListGrammar(name)
    Xml:lang="en-US's                                                         { return “grammariti" + $name + “-playlist:
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                                   25                                                                  26
                               -continued                                                          -continued

        >
      <scripts
      <!-- First prompt for the artist name -->
      <vXml:form id="wforml>
      <vXml:field name="Artistname''>
      <vXml:prompt src="#pl/>
                                                                            The segment of multimodal application above may now
      <vXml:grammar src=''namelist.grim                                  render speech prompts in response to those artists names
      </vXml:grammars                                                    related to the content of the media file. That is, the segment of
      </wxml:field>                                                 10   multimodal application above may now render speech
      <!-- Next get the songname for the selected artist -->             prompts retrieved from a metadata container in a media file
      <vXml:field name="songname''>
      <vXml:prompt srcexpr="getprompt(SArtistname)' >                    specifically relating to the content of that media file. Dynamic
      <vXml:grammar Srcexpr="getSong ListGrammar(Sname)' >               extension of the speech prompts of multimodal applications
      </vXml:grammars                                                    according to embodiments of the present inventive subject
      <vXml:filled
      <vXml:assign name="temp' expr="play(Ssongname)' >             15   matter makes such multimodal applications more robust and
     </wxml:filled                                                       flexible.
     </wxml:field> <                                                        As will be appreciated by one skilled in the art, aspects of
   fvXml:form                                                            the present inventive subject matter may be embodied as a
      <listener event="load observer='main target="main                  system, method or computer program product. Accordingly,
    handler=#wform1.>
      </head>                                                            aspects of the present inventive Subject matter may take the
      <body id="main's                                                   form of an entirely hardware embodiment, an entirely soft
      <form action=''>
      <p id="pls-Pick an artist to play-p-
                                                                         ware embodiment (including firmware, resident software,
      <select id="artist size=“5” onselect=“uplDatePlayList()' >         micro-code, etc.) or an embodiment combining Software and
      <option value="Sade'>Sade-option/>                                 hardware aspects that may all generally be referred to herein
      <option value="John Cougar-John Cougar-option>                25   as a “circuit.” “module' or “system.” Furthermore, aspects of
      <option value="Bob Dillon'>Bob Dillon-option/>
      <select>
                                                                         the present inventive subject matter may take the form of a
      <select id="playlist/>                                             computer program product embodied in one or more com
      <input type=“button value="Play”                                   puter readable medium(s) having computer readable program
    onclick="play (getElementById(playlist).value) -                     code embodied thereon.
      <?form
      </body>
                                                                    30      Any combination of one or more computer readable medi
    </html>                                                              um(s) may be utilized. The computer readable medium may
                                                                         be a computer readable signal medium or a computer read
                                                                         able storage medium. A computer readable storage medium
   In the example above, the function getPrompt(name)                    may be, for example, but not limited to, an electronic, mag
dynamically generates a prompt name. Such a function was            35   netic, optical, electromagnetic, infrared, or semiconductor
unable generate a prompt name for the speech prompts in the              system, apparatus, or device, or any Suitable combination of
updated prompt document in response to a user's saying                   the foregoing. More specific examples (a non-exhaustive list)
 John Cougar. Sade, or Bob Dillon prior to updating the                  of the computer readable storage medium would include the
prompt document above. In the example above, the segment:                following: an electrical connection having one or more wires,
                                                                    40   a portable computer diskette, a hard disk, a random access
                                                                         memory (RAM), a read-only memory (ROM), an erasable
                                                                         programmable read-only memory (EPROM or Flash
                                                                         memory), an optical fiber, a portable compact disc read-only
                                                                         memory (CD-ROM), an optical storage device, a magnetic
                                                                    45   storage device, or any suitable combination of the foregoing.
                                                                         In the context of this document, a computer readable storage
                                                                         medium may be any tangible medium that can contain, or
                                                                         store a program for use by or in connection with an instruction
   prompts a user for an artist name. The artists names John             execution system, apparatus, or device.
Cougar. Bob Dillon, and Sade, may now be recognized by              50      A computer readable signal medium may include a propa
the speech engine as a response to the prompt because the                gated data signal with computer readable program code
speech engine was updated according to the methods of                    embodied therein, for example, in baseband or as part of a
FIGS. 5-7. Having correctly recognized the artist selected by            carrier wave. Such a propagated signal may take any of a
a user, after carrying out the method of FIG. 8, a multimodal            variety of forms, including, but not limited to, electro-mag
application may prompt a user with a speech prompt retrieved        55   netic, optical, or any Suitable combination thereof. A com
by a prompt generation engine from the metadata container of             puter readable signal medium may be any computer readable
a media file for inclusion in the multimodal application using           medium that is not a computer readable storage medium and
the following segment of the multimodal application above:               that can communicate, propagate, or transport a program for
                                                                         use by or in connection with an instruction execution system,
                                                                    60   apparatus, or device.
                                                                            Program code embodied on a computer readable medium
    <vXml:field name="songname''>                                        may be transmitted using any appropriate medium, including
    <vXml:prompt srcexpr="getprompt(SArtistname)' >                      but not limited to wireless, wireline, optical fiber cable, RF,
    <vXml:grammar Srcexpr="getSongListGrammar(SArtistname)' >
    </vXml:grammars                                                      etc., or any suitable combination of the foregoing.
    <vXml:filled <                                                  65      Computer program code for carrying out operations for
      VXml:assign name="temp' expr="play (SSongname)' >                  aspects of the present inventive subject matter may be written
                                                                         in any combination of one or more programming languages,
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including an object oriented programming language Such as                other variations, modifications, additions, and improvements
Java, Smalltalk, C++ or the like and conventional procedural             may fall within the scope of the inventive subject matter.
programming languages, such as the 'C' programming lan
guage or similar programming languages. The program code                   What is claimed is:
may execute entirely on the user's computer, partly on the          5       1. A method of dynamically extending the speech prompts
user's computer, as a stand-alone software package, partly on            of a multimodal application, the method comprising:
the user's computer and partly on a remote computer or                     receiving, by a prompt generation engine, a media file
entirely on the remote computer or server. In the latter sce                   having a metadata container, wherein the prompt gen
nario, the remote computer may be connected to the user's                      eration engine operates on a multimodal device that
computer through any type of network, including a local area        10         Supports a voice mode and a non-voice mode for inter
network (LAN) or a wide area network (WAN), or the con                         acting with the multimodal device;
nection may be made to an external computer (for example,                  retrieving, by the prompt generation engine from the meta
through the Internet using an Internet Service Provider).                      data container, a speech prompt related to content stored
   Aspects of the present inventive subject matter are                         in the media file for inclusion in the multimodal appli
described with reference to flowchart illustrations and/or          15        cation; and
block diagrams of methods, apparatus (systems) and com                      modifying, by the prompt generation engine, the multimo
puter program products according to embodiments of the                         dal application to include the speech prompt.
inventive subject matter. It will be understood that each block             2. The method of claim 1 wherein retrieving, by the prompt
of the flowchart illustrations and/or block diagrams, and com            generation engine, from the metadata container a speech
binations of blocks in the flowchart illustrations and/or block          prompt related to content stored in the media file for inclusion
diagrams, can be implemented by computer program instruc                 in the multimodal application further comprises retrieving a
tions. These computer program instructions may be provided               text string prompt for execution by a text to speech engine.
to a processor of a general purpose computer, special purpose               3. The method of claim 1 wherein retrieving, by the prompt
computer, or other programmable data processing apparatus                generation engine, from the metadata container a speech
to produce a machine, such that the instructions, which             25   prompt related to content stored in the media file for inclusion
execute via the processor of the computer or other program               in the multimodal application further comprises retrieving an
mable data processing apparatus, create means for imple                  audio prompt to be played by the multimodal device.
menting the functions/acts specified in the flowchart and/or                4. The method of claim 1 wherein retrieving, by the prompt
block diagram block or blocks.                                           generation engine, from the metadata container a speech
   These computer program instructions may also be stored in        30   prompt related to content stored in the media file for inclusion
a computer readable medium that can direct a computer, other             in the multimodal application further comprises identifying a
programmable data processing apparatus, or other devices to              tag for prompts in the metadata container.
function in a particular manner, Such that the instructions                 5. The method of claim 4 wherein identifying a tag for
stored in the computer readable medium produce an article of             prompts in the metadata container further comprises identi
manufacture including instructions which implement the              35   fying a frame for prompts in an ID3 container of an MPEG
function/act specified in the flowchart and/or block diagram             media file.
block or blocks.                                                            6. The method of claim 1 wherein modifying, by the
   The computer program instructions may also be loaded                  prompt generation engine, the multimodal application to
onto a computer, other programmable data processing appa                 include the speech prompt further comprises updating a
ratus, or other devices to cause a series of operational steps to   40   prompt document with the retrieved speech prompt.
be performed on the computer, other programmable appara                     7. A multimodal device that supports multiple modes for
tus or other devices to produce a computer implemented                   interacting with the multimodal device, the multimodal
process Such that the instructions which execute on the com              device comprising:
puter or other programmable apparatus provide processes for                a computer processor,
implementing the functions/acts specified in the flowchart          45     a computer memory operatively coupled to the computer
and/or block diagram block or blocks.                                         processor, the computer memory having disposed
  While the embodiments are described with reference to                       within it computer program instructions configured to:
various implementations and exploitations, it will be under                receive a media file having a metadata container,
stood that these embodiments are illustrative and that the                 retrieve, from the metadata container, a speech prompt
scope of the inventive subject matter is not limited to them. In    50        related to content stored in the media file for inclusion in
general, techniques for dynamically extending the speech                     a multimodal application; and
prompts of a multimodal application as described herein may                modify the multimodal application to include the speech
be implemented with facilities consistent with any hardware                   prompt.
system or hardware systems. Many variations, modifications,                 8. The multimodal device of claim 7 wherein computer
additions, and improvements are possible.                           55   program instructions configured to retrieve, from the meta
   Plural instances may be provided for components, opera                data container, a speech prompt related to content stored in
tions or structures described herein as a single instance.               the media file for inclusion in the multimodal application
Finally, boundaries between various components, operations               further comprise computer program instructions configured
and data stores are somewhat arbitrary, and particular opera             to retrieve a text string prompt for execution by a text to
tions are illustrated in the context of specific illustrative con   60   speech engine.
figurations. Other allocations of functionality are envisioned              9. The multimodal device of claim 7 wherein computer
and may fall within the scope of the inventive subject matter.           program instructions configured to retrieve, from the meta
In general, structures and functionality presented as separate           data container, a speech prompt related to content stored in
components in the exemplary configurations may be imple                  the media file for inclusion in the multimodal application
mented as a combined structure or component. Similarly,             65   further comprise computer program instructions configured
structures and functionality presented as a single component             to retrieve an audio prompt to be played by the multimodal
may be implemented as separate components. These and                     device.
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   10. The multimodal device of claim 7 wherein computer                 the metadata container, a speech prompt related to content
program instructions configured to retrieve, from the meta               stored in the media file for inclusion in the multimodal appli
data container, a speech prompt related to content stored in             cation further comprise computer program instructions con
the media file for inclusion in the multimodal application               figured to retrieve a text string prompt for execution by a text
further comprise computer program instructions configured                to speech engine.
to identify a tag for prompts in the metadata container.                    15. The computer program product of claim 13 wherein
   11. The multimodal device of claim 10 wherein computer                computer program instructions configured to retrieve, from
program instructions configured to identify a tag for prompts            the metadata container, a speech prompt related to content
in the metadata container further comprise computer program              stored in the media file for inclusion in the multimodal appli
instructions configured to identify a frame for prompts in an       10
                                                                         cation further comprise computer program instructions con
ID3 container of an MPEG media file.
   12. The multimodal device of claim 7 wherein computer                 figured to retrieve an audio prompt to be played by the mul
                                                                         timodal device.
program instructions configured to modify the multimodal                    16. The computer program product of claim 13 wherein
application to include the speech prompt further comprise
computer program instructions configured to update a prompt         15
                                                                         computer program instructions configured to retrieve, from
document with the retrieved speech prompt.                               the metadata container, a speech prompt related to content
   13. A computer program product for dynamically extend                 stored in the media file for inclusion in the multimodal appli
ing speech prompts of a multimodal application, the com                  cation further comprise computer program instructions con
puter program product comprising:                                        figured to identify a tag for prompts in the metadata container.
   a recordable media having computer program instructions                  17. The computer program product of claim 16 wherein
      stored therein, the computer program instructions con              computer program instructions configured to identify a tag
      figured to:                                                        for prompts in the metadata container further comprise com
   receive a media file having a metadata container,                     puter program instructions configured to identify a frame for
   retrieve, from the metadata container, a speech prompt                prompts in an ID3 container of an MPEG media file.
     related to content stored in the media file for inclusion in   25
                                                                            18. The computer program product of claim 13 wherein
    the multimodal application; and                                      computer program instructions configured to modify the mul
  modify the multimodal application to include the speech                timodal application to include the speech prompt further
     prompt.                                                             comprise computer program instructions configured to
  14. The computer program product of claim 13 wherein                   update a prompt document with the retrieved speech prompt.
computer program instructions configured to retrieve, from                                      k   k   k   k   k
